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            EXHIBIT B
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------X
  CHRISTOPHER GRIEF,

                                                       Plaintiff,           15-CV-7240
                                                                            (ADS)(AYS)
                   -against-

                                                                            STIPULATION
  NASSAU COUNTY, SHERIFF MICHAEL SPOSATO,                                   AND ORDER OF
  JOHN DOE 1, JOHN DOE 2, and JOHN DOE 3,                                   CONFIDENTIALITY
  individually and in their official capacities

                                                        Defendants.
  ----------------------------------------------------------------------X

          The parties agree pursuant to Fed. R. Civ. P. 26(c), that the following provisions shall

  govern the handling of confidential information and documents in this action:

      1. Definitions. For purposes of this agreement:

          (a). “Confidential Information” means any information which the designating party

  deems confidential, including but not limited to information consisting of trade secrets,

  investigative techniques, and/or procedures, know-how, proprietary data and/or commercial,

  financial, personal, or personnel information which the designating party has maintained in

  confidence.     It shall be the duty of the party who seeks to invoke protection under this

  Agreement to give notice, in the matter set forth hereinafter, of the documents and testimony to

  be covered hereby, and the duty of the any other party or person to maintain confidentiality

  hereunder shall commence with such notice.

          (b). “Producing party” or “Designating party” shall mean the party (and its counsel) who

  is producing information to another party and who deems that information confidential.

          (c). “Inspecting party” or “Non-designating party” shall mean the party (and its counsel)

  who receives the confidential information supplied by the producing party.
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          (d). “Counsel” shall mean the law firm engaged by the plaintiff and the defendants to

  represent them in this litigation.

          (e). “Document” shall include “writings, drawings, graphs, charts, photographs, phone

  records, and any other data compilations from which information can be obtained, translated, if

  necessary, by the respondent through detection devices into reasonably usable form” as set forth

  in Rule 34(a) of the Federal Rules of Civil Procedure.

          (f). “Party,” in the case of a party to this action which is a corporation, means any officer,

  director, shareholder, or employee of such party, all of whom shall be bound by the provisions of

  this Confidentiality Agreement.

          (g). “Produce” means the transmission of any “document” during the course of and in

  connection with this litigation, including appeals thereof, to a “party” or its “attorneys,” whether

  voluntary or involuntary, whether pursuant to request or legal process, and whether in

  accordance with the Federal Rules of Civil Procedure or otherwise.

          (h). “Person” means, in the plural as well as the singular, any individual, corporation,

  firm, association, partnership, business trust, government body or any other legal or business

  entity, unless specified herein to the contrary.

      2. Documents

          (a). Documents produced in the course of discovery herein (either formally or informally)

  which the producing party deems to contain confidential information may be designated as

  confidential by the producing party and the documents or portions thereof deemed to be

  confidential which are copies and delivered to counsel for the inspecting party shall be marked

  “CONFIDENTIAL,.” or indicated by Bates number range in a cover letter or cover email.




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         (b). The producing party shall designate the document as confidential at the time of its

  production and/or inspection by the inspecting party. The producing party’s failure to do so,

  however, does not waive its right to designate that document or any portion thereof as

  confidential, if within thirty (30) days after production, notification is given as to the confidential

  status of the document.       Should the inspecting party disseminate that document or the

  information contained therein any time during the thirty days after production, the inspecting

  party shall be liable. However, should the producing party fail to designate the document as

  confidential within thirty (30) days after production, the inspecting party shall have no

  obligation, responsibility or liability for, or with respect to, any pre-designation dissemination of

  that document or the information contained therein.

     3. Deposition Testimony

         If confidential information is contained in deposition, trial or other testimony, the

  portions of the transcript containing confidential information may be designated as containing

  confidential information in accordance with this Agreement by notifying the other party (1) on

  the record, at the time of the testimony, or (2) in writing, within thirty (30) days of receipt of the

  transcript of the specific pages and lines of the transcript which contain confidential information.

  At any deposition session when counsel for a party deems that the answer to a question will

  result in the disclosure of confidential information within the meaning of this Agreement,

  counsel may direct that the question and answer be transcribed separately from the remainder of

  the deposition and if filed with the Court, shall be filed “under seal” in accordance with the

  District Court’s procedures for documents filed under seal. A courtesy copy of the document

  shall be filed in a sealed envelope marked in the manner set forth in Paragraph “5” hereof. When

  such a direction has been given, the testimony shall be disclosed only to those individuals



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  specified in Paragraph “6” hereof. Counsel for the party whose confidential information is

  involved may also request that all persons other than the reporter, counsel and individuals

  specified in Paragraph “6” hereof leave the deposition room during the confidential portion of

  the deposition. The failure of such other persons to comply with a request of this type shall

  constitute substantial justification of counsel to advise the witness that he/she need not answer a

  question seeking the revelation of confidential information.be addressed by a call to the Court for

  guidance as to how to proceed.

     4. Interrogatory Answers

         If an interrogatory answer contains confidential information, the answer shall be provided

  in a separate document, appended to the main body of answers and incorporated by reference

  thereinthat information which is deemed confidential shall be indicated clearly and with

  specificity. The response to the interrogatory in the main body of the answers should state:

  “requests confidential information, see response in confidential addendum containing the

  confidential information (e.g. affidavits, etc.), which response is incorporated fully herein by

  reference.”

     5. Filing Under Seal

         Any confidential information including confidential portions of transcripts of depositions

  or portions thereof, exhibits, answers to interrogatories, and responses to requests for admissions

  which have therefore been designated as comprising or containing confidential information, or

  any pleading or memorandum or other document purporting to reproduce or paraphrase such

  information, if filed with the Court, shall be filed in accordance with the District Court’s

  procedures for filing documents under seal. A courtesy copy of the document shall be filed in a

  sealed envelope(s) or other appropriately sealed containers on which shall be endorsed the title of



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  this action, an indication of the nature of its contents, the word “Confidential” and a statement

  substantially in the following terms:




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         “CONFIDENTIAL. Filed Pursuant to a Confidentiality Agreement by and
         between Jeffrey Adam Rothman, Esq. and John Ware Upton Esq. as attorneys for
         Plaintiff and the Nassau County Attorney’s Office as attorneys for Defendants.
         Not to be opened nor the contents revealed except (1) to the Court and then
         resealed; and/or (2) by agreement of the parties; and/or (3) by prior order of this
         Court.”

         The party filing the documents shall serve notice upon all other parties that the above

  procedure is being invoked.

         At the trial of this action or at any hearing relating to this action before any judicial

  officer, subject to the rules of evidence and other order of the Court, a party may use any

  confidential information for any purpose, provided that adequate prior notice of such use is given

  to counsel for the opposing party to permit the opposing party the opportunity to obtain

  appropriate protection from the Court, including a request to the Court that the courtroom be

  cleared of persons not subject to the Agreement and that the Court employees be advised as to

  the terms of this Agreement.

     6. Individuals Subject to this Agreement

         (a). Each and every page or sheet of allAll portions of transcripts of depositions, exhibits,

  answers to interrogatories and requests for admissions, copies thereof, other documents and all

  information obtained by an inspection of files, facilities or documents by counsel for any party

  pursuant to pretrial discovery in this action that have been designated by the other party as

  compromising or containing its confidential information shall be marked designated as

  “CONFIDENTIAL” as described in paragraph 2(a), supra, and shall be retained by the receiving

  party’s counsel and shall not be disclosed or used by an non-designated person other than those

  listed below.   Any material marked designated as “CONFIDENTIAL” shall be used for

  prosecuting and/or defending the within action only, and for no other purpose without agreement




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  by opposing counsel or authorization by the Court. Any unauthorized disclosure in violation of

  the order shall be subject to discipline by the contempt powers of the Court.

           (b). Confidential information shall not be disclosed to any person other than (i) a party to

  this action and counsel for the parties to this litigation and office personnel employed or engaged

  in the preparation for, or in aiding in the trial of this action; (ii) independent outside persons (i.e.

  persons not employees of a party), not to exceed five, requested by counsel to furnish technical

  or expert services1 or to give testimony with respect to the subject matter for the trial of this

  action; and (iii) the Court including necessary secretarial and law clerk personnel assisting the

  Court.

           (c). Each person to whom disclosure may be made by counsel for a party shall first be

  identified not less than ten (10) days before the disclosure, to counsel for the party designating

  the information as confidential and shall, in a written instrument delivered beforehand to such

  counsel, acknowledge that he/she is fully familiar with the terms of this Confidential Agreement

  and agrees in writing, to comply with, and be bound by, such Agreement until modified by

  further Order of the Court or by agreement of the parties hereto. Counsel for the designating

  party shall have the right to object, in writing within five (5) business days after receiving the

  required identification, to such disclosure to the person or persons selected by counsel for the

  non-designating party and should such objection be made, no disclosure shall be made to such

  objected person without leave of the Court.

      7. Disclosure

           No person or party shall disclose to anyone not specified in Paragraph “6” any

  information designated as confidential under this Agreement, without prior written consent of the


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    All experts hired by the parties must sign an affidavit acknowledging that the information being provided is subject
  to a confidentiality agreement and they agree to abide by the terms of said confidentiality agreement.

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  designating party or further order of this Court. Confidential information disclosed pursuant to

  this Agreement shall not be used by a recipient thereof for any purpose other than for purposes of

  preparing this action for trial without agreement by opposing counsel or authorization by the

  Court..

     8. Restrictions of Disclosure

            The restrictions on dissemination of confidential information contained herein shall not

  apply to information which, prior to disclosure hereunder, was in the possession of an inspecting

  party or a person who, absent this Agreement, is under no restriction with respect to the

  dissemination of such confidential information or to information which is public knowledge or

  which, after disclosure, becomes public knowledge other than through an act or omission of a

  party receiving the information designated as confidential., provided that iIf a party to this

  Agreement who is to receive any confidential information disagrees with respect to its

  designation as confidential information, in full or in part, it shall so notify the producing party in

  writing, providing a brief statement setting forth the basis for its objection and the designation,

  and they will thereupon confer as to the status of the subject information proffered within the

  context of this Agreement within ten (10) days of the sending of such notice. If the recipient and

  producing parties are unable to agree to the status of the subject information, any party to this

  Agreement may raise the issue of the designation of such a status to the Court upon ten (10) days

  written notice. The Court may raise the issue of designation of the confidential status without

  any request from a party. In any disagreement over the designation of confidential information,

  the designating party bears the burden of showing that the designated information is confidential

  information within the scope of this Agreement. No party to this action shall be obligated to

  challenge the propriety of such designation, and a failure to do so shall not preclude a subsequent



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   challenge on the propriety of such designation and shall not constitute an admission that any

   information is in fact confidential.

          Documents and information shall not be designated as confidential to the extent that they

   relate to the incident(s) underlying the Complaint in the action.



      9. Reservation of Rights

          (a). This Agreement is intended to provide a mechanism for the handling of confidential

   information and documents for which there is no objection other than confidentiality. Each party

   reserves the right to object to any disclosure of information or production of any document it

   deems confidential on any other ground it may deem appropriate, and any party may move for

   relief from, or general or particular modification of, the mechanism for maintaining

   confidentiality herein set forth or the application of this Agreement in any particular

   circumstance.

          (b). Upon final termination of this litigation, within thirty (30) days, each party that is

   subject to this Agreement shall assemble and return to the producing party all items containing

   the producing party’s confidential information produced in accordance with this Agreement,

   including all copies of such matter which may have been made, but not including copies

   containing notes or other attorney work product that may have been placed thereon by counsel

   for the receiving party. All copies containing notes or other attorney’s work product shall be

   destroyed promptly after final termination by the receiving party who will so inform the

   disclosing party. As an alternative to the return of all such confidential information, the recipient

   may destroy such confidential information within thirty (30) days of final termination of the

   litigation. Promptly after the return or destruction of items containing the producing party’s



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   confidential information, the receiving party shall by letter certify that all items containing the

   producing party’s confidential information have been fully returned and/or destroyed,

   respectively. Receipt of all material returned to the producing party shall be acknowledged in

   writing if requested by the receiving party and the receiving party has specified what has been

   returned by it. This Agreement will survive the termination of the litigation and will continue to

   be binding upon all persons to whom confidential materials are produced or disclosed. All

   documents or information that have been deemed confidential pursuant to this order, including

   all copies and non-conforming copies thereof, shall remain confidential for all time. Once the

   Action has been resolved, including all appeals, the confidential materials, including all copies

   and non-conforming copies thereof, shall not be used by the Receiving Party for any purpose

   without prior Court approval.

          (c). Nothing herein shall prevent disclosure of any confidential information (1) by the

   producing party or (2) to any employee or officer of the producing party or (3) to any person, no

   longer affiliated with the producing party, who either authored, in whole or part, or who received

   the confidential information in confidence prior to the initiation of this litigation.

          (d). Nothing in this Agreement shall be deemed a waiver of any right any party otherwise

   might have under the Federal Rules or the doctrines of attorney/client privilege, attorney work

   product, or any other privileges.

          (e). This Agreement shall survive the final termination of this action with respect to any

   confidential information. The Court shall retain jurisdiction over the parties and counsel for the

   parties as necessary to enforce this Agreement.

      10. Signatures




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           A facsimile or scanned image signature of this Stipulation and Order of Confidentiality

   has the full force and effect of an original.




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                                    Confidentiality Agreement

                       Grief v. Nassau County et al., 15-CV-4720 (ADS)(AYS)

   Dated: New York, NY

                                      , 20165


   BY:
   Jeffrey Adam Rothman
   315 Broadway, Suite 200
   New York, NY 10007
   (212)227-2980

   John Ware Upton
   70 Lafayette Street, 7th Floor
   New York, NY 10013
   212-233-9300



   Dated: Mineola, NY

                                      , 20165

   CARNELL T. FOSKEY
   Nassau County Attorney


   BY:
   Thomas Lai
   Deputy County Attorney
   One West Street
   Mineola, New York 11501
   (516) 571-6074
   Attorney for the Defendant


   SO ORDERED:



   __________________________

   United States Magistrate Judge


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                          ACKNOWLEDGMENT PURSUANT TO
                       STIPULATION OF CONFIDENTIALITY IN
                      Grief v. Nassau County et al., 15-CV-7240 (ADS)(AYS)


          I,                                                      hereby certify:

          I have read the terms of the Stipulation of Confidentiality in Grief v. Nassau County

   et al., 15-CV-7240 (ADS)(AYS) and I agree to be fully bound by, and comply with, the

   Stipulation of Confidentiality in all respects. I also submit, and waive any objection, to the

   jurisdiction of the United States District Court for the Eastern District of New York (the

   "Court") for the adjudication of any dispute concerning or related to my compliance with

   the Stipulation and Order of Confidentiality. I understand that any violation of the terms of the

   Stipulation and Order of Confidentiality may be punishable by money damages, interim or

   final injunctive or other equitable relief, sanctions, contempt of court, or other or

   additional relief as deemed appropriate by the Court.

                                                       Signature: ___________________________

                                                       Please print or type the following:

                                                       Name: ______________________________

                                                       Employer: ___________________________

                                                       Title: _______________________________

                                                       Work Telephone: _____________________

                                                       Home Telephone: _____________________

                                                       Mobile Telephone: ____________________

                                                       Home Address: _______________________

                                                       Email Address: _______________________




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